                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


JOSE ACEVEDO as Special Administrator
Of the Estate of Joel Acevedo,

                      Plaintiff,
                                                            Case No. 23-cv-0489-bhl
       v.

MICHAEL A MATTIOLI, ROBERT ROACH,
And ALFONSO MORALES,

                  Defendants.
______________________________________________________________________________

                            SCHEDULING ORDER
______________________________________________________________________________

       The Court held a telephone scheduling conference with the parties’ attorneys on January
18, 2024, pursuant to Fed. R. Civ. P. 16 and Civil L. R. 16(a), and set the following schedule and
procedures.
                                         DISCOVERY
   1. The parties’ initial disclosures as required by Fed. R. Civ. P. 26(a) must be provided on or
       before February 9, 2024.
   2. Amendments to the pleadings may be filed without leave of Court on or before January
       18, 2024. Fed. R. Civ. P. 15 will apply to any amendment filed after that date.
   3. All fact discovery must be completed no later than August 16, 2024. Discovery requests
       must be served sufficiently in advance of this deadline that timely responses are due before
       the deadline expires.
   4. In accordance with Fed. R. Civ. P. 26, primary expert witness disclosures are due on or
       before May 1, 2024 and rebuttal expert witness disclosures are due on or before June 16,
       2024. These documents are to be exchanged between the parties and are not to be filed
       with the Court.
   5. All expert discovery must be completed no later than August 16, 2024.




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6. Any motions pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
   (1993) must be served and filed on or before November 30, 2024.
7. Expedited non-dispositive motions must comply with Civil L. R. 7(h). Counsel seeking
   non-dispositive procedural relief shall consult with the opposing party and include in the
   motion a statement indicating whether or not the motion is opposed.
                         SUMMARY JUDGMENT MOTIONS
8. Motions for summary judgment must comply with Fed. R. Civ. P. 56 and Civil L. R. 7 and
   shall be served and filed on or before September 20, 2024.
                  FINAL PRETRIAL CONFERENCE AND TRIAL
9. A final pretrial conference will be held on May 1, 2025 at 9:00 a.m. at the United States
   Federal Building and Courthouse, 517 E. Wisconsin Ave. Milwaukee, WI 53202. Motions
   in limine are due 14 days before the final pretrial conference. Responses to motions in
   limine are due 7 days before the final pretrial conference.
10. Unless otherwise ordered, each party must file a pretrial report at least 14 days before the
   scheduled final pretrial conference. The report must include:
       a. A short summary (not to exceed 2 pages) of the facts, claims, and defenses;
       b. A list of witnesses for each party that includes:
           •   The name and address of each witness expected to testify;
           •   A brief summary of the witness’s testimony;
           •   A time estimate for the witness’s direct examination; and
           •   For each expert witness, a summary of the expert’s background.
       c. A list of exhibits to be offered at trial that is, where practicable, sequentially
           numbered according to General Local Rule 26;
       d. Designations of any testimony that will be presented through deposition transcripts,
           including a statement indicating whether the testimony will be read to the jury or
           presented by video;
           •   Prior to filing deposition designations, parties must meet and confer to work
               through any potential objections.
           •   To the extent issues cannot be resolved, opposing parties may file objections
               and counter-designations 7 days before the final pretrial conference.


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       e. A list of stipulated facts;
       f. Because this case is scheduled for a jury trial:
           •    Any proposed voir dire questions;
           •    Proposed jury instructions on substantive issues; and
           •    A proposed verdict form.
11. A jury trial will be held on May 12, 2025 through May 16, 2025 at the United States
   Federal Building and Courthouse, 517 E. Wisconsin Ave. Milwaukee, WI 53202.

                             ADDITIONAL PROCEDURES
12. All requests of the Court must be made by formal motion in accordance with Civil L. R. 7
   and the Federal Rules of Civil Procedure.
13. Counsel are to confer and make a good faith effort to settle the case and explore various
   methods of alternate dispute resolution. The Court will refer the case to one of the
   magistrate judges for mediation, at no cost to the parties, when a joint request is made at
   least ninety (90) days prior to the final pretrial conference.
14. Settlement discussions must be completed prior to the final pretrial conference. In cases
   where settlement occurs after the final pretrial conference, the Court may impose jury-
   related costs, including notification, travel, and attendance fees, upon the responsible
   attorneys.
15. The foregoing schedule shall not be modified except upon a showing of good cause and by
   leave of the Court. The pendency of motions or settlement discussions shall not justify
   modification of the schedule, nor delay the taking of discovery.

SO ORDERED on January 18, 2024.

                                                  s/ Brett H. Ludwig
                                                  BRETT H. LUDWIG
                                                  United States District Judge




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